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                7, 9w 8th streèt
                Bentonvitle,AR 71716

      RE:       Froo*u s- v.d In vlrglnla
      eoR, wat-m rtStoresEast,LP (BomestscState:DE)



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                                     Lexington,VA 24450
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                                  ROCKBRIDGE CIRCUIT COURT
                                         CivilDivision
                             COURTHOUSE,20 S.RANDOLPH ST.SUITE l01
                                       LEXIN GTO N VA
                                            (540)463-2232
                                               Sum mons


         To:W AL-M ART STORES EAST L.P                                           (rase lko.163CL12000215-00
              CT CORPO RAT ION SYSTEM
              4701COX ROAD
              SUITE 30l
              GLEN ALLEN VA 23060


         Thepartyuponw hom tbissumm onsandtheattachcd complaintare served ishcreby notified
         thatunlesswithin2Idaysahersuchservice,responseismadebyslingintheclerk'soffce
         ofthiscourtapleading m writing,in properlegalform,tllcallegationsand chargesmay be
         takenasadmittcdandthccourtmayenteranorder,judgment,ordecreeagainstsuchparty
         eitherby defaultoraRerheadng evldence,
         Appearance in pcrson is notrcquired by thissum m ons.

         Done in thenam e ofthe Com m onw ea1th ofV irginia onNThursday.Scptembor13,2012
         ClerkofCourt:D.BRUCE PAW ERSON
                                                             *


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    Instm ctions:



l-learing Official:




A ttorney'!nam c:     M CN AM ARA ,BRIAN
                      PO BOX 74l
                      LEXINGTON VA 24450
    Case 6:12-cv-00055-NKM-RSB Document 1-1 Filed 10/10/12 Page 3 of 10 Pageid#: 8
        VIRbINIA:
    '''       m THE ROCKBM DGE COU NTY CJRCUIT COURT

        SYLVIA JAN E RODARTE,
             486GreenhillRosd
             Lexington,Virgiia 24450
             Plaintiff,
                                                      FILE N 0:      -              -



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                                           )
        W AL-M M W ASSOCIATES,1NC.,        )
                                           )
         Senre:CT CORPOM N ON SYSTEM       )
               4701C0k RD)STE 301          )
               GLEN ALLEN,VA 23060-:6X3-1- )
                                           )
        and                                )
                                           )
        W AL-M ART STORES EAST,L,P.

        Serve:CT CORPOM TION SY STEM
              4701 COX 1* ;STE 301
              GLEN ALLEN ,VA 23060-6802

              Defendnnts.

                                            COM PLAINT
    '
        COM ES NOW the plnintiff,SylviaJaneRodade,by collnqel,and lilesthisCom plaint
        againstW al-M artA ssociatesxInc.,and forcause,statesaqfollows:

              Atal1tknesrelevanttothismac r,thePlaintiffSylviaJmzoRodarteCplaintiT ')
              wasaresidentofthe City ofLexingtol Vizginia.

        2.    Ata11timesrelevanttothismatter,theDefendnnt,W al-M artAssociates,Inc.,
              (tdDefendant'')operated aW aI-MM storeat1233No% LeeHighway',intheCity
              ofLcxington,VirgilattheçtLexingtonW al-M u '').In thealtem ative,ata11
              timesrelevantto tlzism atter,theDefendantW al-M m StoresEast,LP,operated a
              W al-M artstoreat1233NorthLeeIlighwly,intheCityoflzexinp m?Virginia
              ttheGiexington W aLM art').
              Plaintifl-wasemployed by DefendnntsasacasbierattheLexington W Z-M M
              beginning in November,2000 untilberemplolqnentwasterminated by W al-M art
              on oraboutSeptembe 29,2011.




Case 6:12-cv-00055-NKM-RSB Document 1-1 Filed 10/10/12 Page 4 of 10 Pageid#: 9
     13.' Plaintifrwastricd forem bezzlementin theLcxingtonc ockbridgeCnm bined
          GengralDisd ctCoul on oraboutJanuary20,2012 and wasfound notguilty
            following aG nclttrial.

                          COIJNT 1- M ALICJOUS PROSECUTION

      l4.   PlaintiffzestatesParagrapls 1-13 asifsetfolh K llyherein.

      15.   Thedefendants'actiomsin providing falseinfcrm ation to caulea crim inal
            prosecution to bebroughtagainsttheplaintif attheLexington W al-M art's
            instigation and with it'scooperatien,wcremaliciousand vithoutprobable cause.

      !6.   Thatthecrim inalprosecution resulted in thecrim inalcaseagainstplaintiffbeing
            tenminated in am nnnerthstw'
                                       asnot'mfavorable to tbeplaintis.

                            COUNT 11- FALSE IM PIUSONM ENT

      17.   Plaintif restatesParagraphs 1-16 asifsetfozth 1 11yhtrein;

      18.   Thedefendnnts'actionsin providingfzseinfonnation,so thatan arrestwarrant
            wouldbeissuedandsenpedonthePlnintië causcdtberestraintoftheplaintic s
            lia rty withoutsul cientlegalcauseûn September29,2011K d again Qn Octobcr
            6,201lwhen shewasaaes-ted;

            COUNT 1Il- W TENTIONAL INFLICTION 0F EM OTIONM DISTRESS

      19.   Plaintifl-resotesPrar aphs1-18asifsetforthfullyhereim

     20.    The defendanl'sactionsin m ovidingfalseinformation,so thatan arrestwarrant
            w ould % issued and served on thePlaintifr,were im entionalorreckless;w ere
            outrageousand intolerablein fhstDefendant'sactionsoffend againstgenerally
            accepted stmndardsofdecencyandm om lity;the Defendr t'    s conductcauscd the
            Plaintil emotionaldis% ss;mzd Plaintitrsem otionaldistressnm-sR vere;

                             COUNT IV - ABUSE OF PROCESS

            Plaintif restatesParagraphs 1-20asifsetforth fully herein;

     22.    n edelkndnnt'sactionsin providing falseinformation,so thatan r estwr ant
            would be issued and sew ed on thePlaintiF,werebroughton by an ulterior
            puo ox and were intended asactsin thetzsc oftheprocessnotproperin the
            rtgularprosecution oftbccrim inalproceedlngsagainstPlaintiff.Upon
            informationandbelief ther estwarrantandsubsequentcn'minnlprosccution
            werebroughtby Defendantin an elortto intim idateLeximlon W al-M art
            employeesagainstgiving outttpricematch''orotherdisoounts.



Case 6:12-cv-00055-NKM-RSB Document 1-1 Filed 10/10/12 Page 5 of 10 Pageid#: 10
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                                  COUNT V .DEFAM ATION

            Plaintil restatesParagraph:1-22 aqifsetforth 5:11),kerein;

     24.    'l''
               hedcfendnntsprovidedfalscstatementsto theRockbridgeCounty Sberriffs
             Depm ment,sm ciscally info= ing Rockbridge County SheaifpsDeputyJ.S.
             So=ells thattbePl'aintiil-hnd Rwrongfully and gaudulcntly used,disposed of,
             cônccalcd,orem bezzledm oney,Y longing to W aI-M M ,lnc.and haNing &value
            oflessthan $200.00 whichtheaccused received foranother,orwhich theaocused
            x ceive,d by virtaeoftheaccused'soflice,tnt- qtjoremploym entvorwhich a court,
            corm ration,company,oranotherpersonentm sted ordelivered to theaccused.''
            (SeeM isdemeanorArrestW aaantExhibitA);
      25.   Defendnnts'statementsfalsely im pm edto thePlaintis a cn'm inalaotinvolving
            m oraltuzpitude,aftd imputed to tlze PlaintiF unstncssto perform thedutiesofher
            emplom entofpmGt,orwantofintey tyinthedischargeofthedutiesofher
            employment.Defendants'falsestatementsalsoprejudicodPlaintiffinbisher
            profession ortrade.

     26.    Defendnnts'falsestatementsled to thearrestofthePlaintif,and to the
            publication ofthatarrestin localnewspam rs-

                             COG T VI- PUNITIVE DAM AGES

     27.    Plaintif restatesparagraphs1-26 aqifsetforth fully herein;

     28.    TbeDefendants'falseshtementstotheRockbridgeCotmty Sherric sDep> ent
            were made willfully,wantonly,m!d with actualm alicetoward thePlaintif.
            Defendmntknew thatthestatem entsmadeto theRockbidge County Sheniffs
            Depm mentwerefalsc,ormadethe falsestatementswith arecklessd sregard for
            thetruth ozfalsity ofthestatements.

     W HEREFOM ,thePlaintil SylviaJaneRodm rdemandsJudgmentagainstDefendant
     W aI-M M Asx ciates,Inc.and DefendantW al-M ad StoresEast, LP asfollows:

     a).    Com x nRatorydamagesin the am ountofON E HUNDRED SEVBNTY-FIVE
            THOUSAND AND 00/100DOLLARS ($175,000.00)4and
     b)     Punitivedam agesin l eamountofTHREE HUNDRED TH OUSAN D Ar
            00/100DOLLARS ($300,000.00);and
     c)     Pre-judgmentandPost-judgmentintetestasallowedbylaw;and
     d)     Fortheaward ofrcasonableattem ey'sfees;and

            TRIAL BY JURY IS DEM ANDED




Case 6:12-cv-00055-NKM-RSB Document 1-1 Filed 10/10/12 Page 6 of 10 Pageid#: 11
                                                    SYLVIA      E       TE


                                                             fCounsel
      Robel B.Armsmmg,Esquire(VSB #32217)
      3 M cDowellSt.
      Lexington,Virginia24450
      (540)462-6800-teleghone
      (540)463-6869-.facslmile
      BrianJ.McNamm ,Esquire(VSB #44344)
      PostOm ceBox 741
      LexingtonsVirginia24450
      (540)8172903- telephone
      (540)463-6869-Façsimile
      bjmcnamaral3@gmail.com
            Cotmselfortheplaintiff




Case 6:12-cv-00055-NKM-RSB Document 1-1 Filed 10/10/12 Page 7 of 10 Pageid#: 12
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     V IRG IN IA :

                     IN TH E ROCKBRIDG E COUNTY CIRCUIT COURT


     SYLIV IA JA NE RO DA R TE,

                     Plaintiff,                            C A No.C 1>12000215-00



     W A L-M A RT A SSO C IA T ES,IN C.and
     W A L-M A RT STO R ES EA ST,L.P.,


                     Defendants.




                                       CO NSEN T O RD ER

            COM ES NOW Plaintiff Sylvia Jane Rodarte,by counsel,and Defendants W al-

     M artAssociates,lnc.and W al-M artStores East,L.P.,by counsel,and by agreementof

     the partics,requests this Coul'
                                   tto grantDcfkndants an extcnsion oftim e untilO ctober22,

     2012 to answ erorotherw ise respond to the Com plaintin this case.

            Upon considcration of Plaintiff Sylvia Jane Rodarte and Defendants W al-M art

     A ssoeiates,lnc.and W al-M artStores E ast, L.P.'S ConsentO rder,itis hereby O RDERE D

    thatthe parties'requestforan extension oftim e isG RAN TE D .

            EN TE RED this        day ofOctober,2012.



                                                JU D GE
                                                Rockbridge County CircuitCourt




Case 6:12-cv-00055-NKM-RSB Document 1-1 Filed 10/10/12 Page 9 of 10 Pageid#: 14
     W e ask forthis:

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     rrochc@ littler.com
     lmcginnistuilittler.com
     A'I''VIIItN EYS FO R D EFEND AN T
     W A L-M A RT A SSO C IA TES,IN C.A N D W A L-M A R T STO R ES EA ST,L.P.




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